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                                                                             FILED
                                                                      U.S. DISTRICT COURT
                                                                         AUGUSTA CiV.
                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGI??''^^'^''
IN RE:                                                              CLERK


 STAY OF CIVIL PROCEEDINGS IN
 THE UNITED STATES DISTRICT                      ADMINISTRATIVE ORDER NO.
 COURT FOR THE SOUTHERN
 DISTRICT OF GEORGIA IN LIGHT
 OF LAPSE OF APPROPRIATIONS
                                                                   19-0002

   ADMINISTRATIVE ORDER STAYING CIVIL PROCEEDINGS IN LIGHT OF
                            LAPSE OF APPROPRIATIONS




       WHEREAS^ federal funding for certain functions of the United States of America,

including the Department of Justice, lapsed at midnight of December 21, 2018,

       WHEREAS, since that time, no appropriation bill or continuing resolution has

been passed that would restore funding to the Department or other federal agencies that

have also experienced a lapse in appropriations,

       WHEREAS, attorneys and other employees of the Civil Division of the United

States Attorney's Office for the Southern District of Georgia, with limited exceptions, are

prohibited from working, even on a voluntary basis, during the lapse of funding,

       WHEREAS employees of many other federal agencies who may have matters

before the Court, with limited exceptions, also are prohibited from working, even on a

voluntary basis, during the lapse of funding,

       WHEREAS the United States Attorney for the Southern District of Georgia, on

behalf of the United States, its federal agencies, and its officers and employees, has filed
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an emergency motion for an administrative order staying all civil cases in which the

United States, its federal agencies, and its officers and employees are named parties or in

which the United States Attorney or any Assistant United States Attorney is counsel of

record based on the current lapse in appropriations,

      IT IS HEREBY ORDERED that any and all civil cases(excluding civil immigration

habeas matters) pending in the District Court of the Southern District of Georgia in which

the United States, any of its federal agencies, or any of its officers and/or employees is a

named party, including any such matter pending before a Magistrate Court Judge, is

HEREBY STAYED imtil Congress has restored appropriations to the Department of

Justice and the subject client agency or agencies, or enacted another continuing

resolution, restoring fimds to the Department and the subject client agency or agencies.

       It is FURTHER ORDERED that any and all civil cases(excluding civil immigration

matters) pending in the District Court of the Southern District of Georgia in which the

United States Attorney or any Assistant United States Attorney is counsel of record,

including any such matter pending before a Magistrate CourtJudge,is HEREBY STAYED

until Congress has restored appropriations to the Department of Justice and the subject

client agency or agencies, or enacted another continuing resolution, restoring funds to

the Department and the subject client agency or agencies.

       It is FURTHER ORDERED that the United States Attorney's Office shall notify the

Court as soon as Congress has appropriated funds for the Department of Justice and the

subject client agency or agencies or enacted another continuing resolution restoring funds

to the Department and the subject client agency or agencies.
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      It is FURTHER ORDERED that at the point that Congress has appropriated funds

for the Department and the subject client agency or agencies, or enacted another

continuing resolution,restoring funds to the Department and the subject client agency or

agencies,all deadlines in place as of the date of this Order shall automatically be extended

for a period of time commensurate with the duration of the lapse in appropriations

without further order of the Court.



   SO ORDERED this             ay of January,2019.




                                  J. RAND^DHALLfCHIEF JUDGE
                                  UNITEMTATES DISTRICT COURT
                                 -southern district of GEORGIA




                                  DUDLEY H. BOWEN,JR.
                                  UNITED states DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA




               [SIGNATURES CONTINUED ON FOLLOWING PAGES]
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                       [SIGNATURES CONTINUED]




                        WILLIAM T. MOORE,JR.
                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
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                       [SIGNATURES CONTINUED]




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                        LI3AGODBEYW0OD
                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
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                       [SIGNATURES CONTINUED]


                                             Mr-



                        R.STAN BAKER
                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
